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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

MADISION MECHANICAL, INC.,, et al.,
Plaintiffs,
v.

TWIN CITY FIRE INSURANCE CO., et
al.,

Defendant.

 

 

Civil Action No.: 1:17-cv-01357-SAG

PLAINTIFFS’ MEMORANDUM EN SUPPORT OF
THEIR OPPOSITION TO DEFENDANT TWIN CITY FIRE
INSURANCE CO.’S MOTION FOR SUMMARY JUDGMENT
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Pursuant to Federal Rule of Civil Procedure 56(a) and Local Rule 105, Plaintiffs Madison
Mechanical, Inc. (“MMI”), Madison Mechanical OS Corp. (“OS Corp.”), Madison Mechanical
Contracting, LLC (“MMCLLC” or “New Co.”) (hereinafter collectively the “Madison Entities”),
Glenn A. Haslam, Gary J. Garofalo, Richard Arnold, Lawrence P. Kraemer, and Richard
Lombardo, by and through counsel, hereby submit this memorandum in opposition to the motion
for summary judgment filed by Defendant, Twin City Fire Insurance Company (“Twin City”).

LL INTRODUCTION

This matter arises out of Twin City’s failure to honor its duty to defend Madison
Mechanical OS Corp., its subsidiaries, and officers in an underlying lawsuit filed by a former
employee and shareholder, Robert Buczkowski. On May 27, 2016, Mr. Buczkowski filed a claim
against OS Corp., MMCLLC, Glenn Haslam, Gary Garofalo, Richard Lombardo, Lawrence
Kraemer, and Richard Arnold (the “Underlying Claim” or the “Underlying Litigation”).

In his Complaint, Mr. Buczkowski sought a declaratory judgment action in which he asked
the court to reinstate him as an employee because he was wrongfully terminated as a longtime
employee of MMI and OS Corp. Mr. Buczkowski also alleged breach of contract, shareholder
oppression, breach of fiduciary duty, tortious interference with economic relations, unjust
enrichment, unfair competition, and constructive trust. Plaintiffs, as defendants in the underlying
lawsuit, ultimately settled and paid $725,000 to compensate Mr. Buczkowski for his wrongful
termination of employment and for the value of his shares. Plaintiffs also incurred substantial
defenses costs.

Despite indicating multiple times throughout the Underlying Litigation that it would, at the
very least, defend Plaintiffs against Mr. Buczkowski’s claims and agreed in writing to return

Plaintiffs’ law firm to defend the case, Twin City failed to do so. Twin City’s failure to defend and
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indemnify Plaintiffs in the Underlying Litigation is in direct violation of the Private Choice
Encore!! Policy, Policy Number 42 KB 0256935-15 (the “2015 Policy”) Twin City issued and for
which Plaintiffs paid substantial premiums over many years. The 2015 Policy has both
Employment Practices Liability (“EPL”) coverage and Directors, Officers and Entity Liability
(“D&O”) coverage, both of which were clearly triggered by the Underlying Claim. The plain
language of the 2015 Policy makes clear that the EPL coverage part is primary and any coverage
under that part must first be exhausted before moving to any other coverage part, i.e., the D&O
portion.

Plaintiffs filed this action to enforce their rights as policyholders. Twin City failed to fulfill
its contractual obligation to defend and indemnify Plaintiffs in the Underlying Litigation pursuant
to the terms of the 2015 Policy. Twin City has now filed a Motion for Summary Judgment seeking
a declaration that the 2015 Policy does not cover the Underlying Litigation. In its Motion for
Summary Judgment, Twin City attempts to rely on intensely disputed material facts and its Motion
should be denied on this ground alone. Even assuming, arguenda, that there were no material facts
in dispute, summary judgment should be denied because the facts establish that Plaintiffs were
entitled to a defense and indemnification in the Underlying Action under the 2015 Policy.

I. STATEMENT OF DISPUTED FACTS

This is a case in which nearly all material facts are hotly in dispute. The parties dispute the
nature of the Underlying Litigation. The circumstances leading to and the substance of the
Underlying Litigation is disputed. The facts leading to a November 11, 2015 Demand Letter and
whether that letter is considered a claim made under the EPL portion of the 2015 Policy is in
dispute. The parties dispute not only whether Mr. Buczkowski was a greater than 10% shareholder

of the Madison entities but also whether any endorsement concerning his ownership percentage is
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applicable. The timeline of events concerning formal corporate action on Mr. Buczkowski’s
ownership percentage in the Madison entities is also in dispute and clearly is a question of fact
requiring the factfinder to evaluate the evidence of when the dilution of Mr. Buczkowski’s
ownership interest occurred. Each of these factual disputes are material — indeed, these disputes of
fact are at the heart of Twin City’s Motion for Summary Judgment and are the ultimate deciding
factors in this case for coverage.
A. The Termination of Robert Buczkowski Triggered All Subsequent Events

In the summer of 2015, Robert Buczkowski (“Mr. Buczkowski’’), the CFO of the Madison
Entities and longtime employee of OS Corp., was informed that Mr. Haslam, Mr. Garofalo, Mr.
Kraemer, and Mr. Lombardo were forming a new company with Mr. Arnold. Mr. Buczkowski
was informed of three key facts at this late June 2015 meeting: 1) that a new company would be
formed; 2) that he would not be a part of that new company; and 3) that his employment with the
Madison entities would terminate upon the winding up of MMI in the fourth quarter of 2015. See
June 23, 2015 E-mail from G. Garofalo to B. Franey, attached hereto as Exhibit 1.

Like any employee facing certain termination, Mr. Buczkowski began making preparations
for his inevitable exit from the Madison entities. He contacted a lawyer and in September of 2015
sought advice about his employment situation. See Deposition Transcript of Robert Buczkowski
with Exhibits, attached hereto as Exhibit 2, Deposition Exhibit 2 (September 25, 2015 E-mail
from R. Buczkowski to C. Rogan); id. at 23:11-25:3. Mr. Buczkowski’s email refers to his
“departure” from his employment and whether he should negotiate “some type of settlement in
regards to my exit either sometime in the near future or hanging around and closing up Madison.”
Ex. 2, Buczkowski Dep., Dep. Ex. 2 (Sept. 25, 2015 E-mail). On October 8, 2015, Mr. Buezkowski

was again informed by Mr. Garofalo that he was being terminated for cause. See November 14,
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2015 E-mail from G. Garofalo to M. Haslam (with attachment), attached hereto as Exhibit 3. At
this meeting, Mr. Garofalo outlined a multitude of reasons for Mr. Buczkowski’s for cause
termination and provided Mr. Buczkowski with a closeout schedule which specified that his last
date of employment would be November 25, 2015. Jd. Ultimately, this date was accelerated to
November 18, 2015.

Knowing his termination was drawing near, Mr. Buczkowski engaged Scarlett, Croll &
Myers, P.A. to represent him. On November 11, 2015, Robert Scarlett, Mr. Buczkowski’s attorney
at that time, sent a letter to Mr. Haslam, Mr. Garofalo, Mr. Lombardo, Mr. Kraemer, and Mr.
Arnold. See November 11, 2015 Letter (“2015 Demand Letter”), attached hereto as Exhibit 4.
The letter demanded that Madison cease and desist certain activities that would compromise the
value of Mr. Buczkowski’s ownership in Madison Mechanical. /d. At the time the letter was sent,
Mr. Buczkowski had been aware that his termination was imminent, and he would not be a partner
or employee of the new company. See Ex. 2, Buczkowski Dep. 69:7-70:5, Dep. Ex. 2 (Sept. 25,
2015 E-mail); Ex. 3, Nov. 14, 2015 E-mail. This letter is plainly a written demand for civil relief
being made by an employee, which triggers Madison’s EPL Coverage.

B. Plaintiffs Reported the 2015 Demand Letter Timely

Upon receiving the 2015 Demand Letter, Mr. Garofalo promptly reported the claim to
William Franey, Madison’s insurance agent with the Alliant Insurance Services, Inc. (“Alliant”).
See Affidavit of Gary Garofalo, attached hereto as Exhibit 5; see also November 23, 2015 E-mail
from G. Garofalo to W. Franey, attached hereto as Exhibit 6. The Madison entities have a decades
long history of reporting ali claims through Alliant. Once Mr. Garofalo reported the claim, he
assumed that Mr. Franey would handle it as he handled all other claims in the past. See Deposition

Transcript of Gary Garofalo, attached hereto as Exhibit 7, at p. 19:10-21:3.
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“Insurers recognize that there is a pervasive custom and practice of the insurance industry
for commercial policyholders to provide notices of claims or similar notices to their agents or
brokers with the expectation that the agent or broker would review the notice .. . and then promptly
forward the claim or notice to the appropriate address for the insurer or insurers.” See Rule 26
Expert Report of James Marshall, Jr. (“Marshall Report”), attached hereto as Exhibit 8, at 432.
“Even if not specifically authorized, insurers routinely, and as a matter of course, receive notices
trom their agents without reproach.” /d. at §34.

Mr. Franey’s Agency Agreement with The Hartford Financial Services Group, Inc.
provided that he was required to notify the insurer “as soon as practicable of any actual or
threatened claims, suits or losses under our policies or in connection with our business with you to
cooperate in our investigation, adjustment, settlkement and payment of all such claims.” See
Hartford Agency Agreement, attached hereto as Exhibit 9, at Section III, [3.1(e). It appears this
agreement was amended in 2017 to except out the accepting of claims. This is yet again another
issue of disputed fact. Compare Ex. 8, Marshall Report with Rule 26 Expert Report of Larry
Goanos (“Goanos Report”), attached hereto as Exhibit 10, at {| 54-57 (stating that the
addendum/amendment was in force at all relevant times and that Mr. Franey’s Agency Agreement
did not permit Mr. Franey to accept notices of claims on behalf of Twin City). This amendment
has no impact on the reporting of the claim at issue in this case, however, as it went into effect two
years after the events at issue. Consequently, “when the screenshots of the November 11, 2015
Letter (i.e., the Notice of Circumstances) were sent by Garofalo to Franey, the Franey Agency
would have had both the authority, and the duty, to accept the Notice of Circumstance. As a result,
the 2015 Twin City Policy assumedly would have been triggered on November 20, 2015.” Ex. 8,

Marshall Report, § 67.
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C. The Twin City Policies

There are two policies at issue in this case: Policy No. 42 KB 0256935-15, effective May
1, 2015 through May 1, 2016 (the “2015 Policy”) and Policy No. 42 KB 0256935-16, effective
May 1, 2016 through May 1, 2017 (the “2016 Policy”). The Court previously ruled that there is
no coverage under the 2016 Policy. See Mem. Op., March 30, 2018, ECF No. 44. Therefore, the
only policy at issue at this time is the 2015 Policy. See 2015 Policy, attached hereto as Exhibit
11.

The 2015 Policy included four (4) separate coverage parts: Directors, Officers and Entity
Liability (“D&O”), Employment Practices Liability (“EPL”), Fiduciary Liability and Crime. Jd.
Particularly at issue in this case are the EPL and D&O coverage parts. The EPL and D&O coverage
parts each provided separate $2 million limits of insurance, while the overall 2015 Policy was then
subject to a $2 million aggregate limit of insurance.’ Id.

1. The EPL Coverage Part

EPL coverage provides coverage for employment practices liability:

The Insurer shall pay Loss on behalf of the Imsureds resulting from an

Employment Practices Claim first made against the Insureds during the Policy

Period or Extended Reporting Period, if applicable, for an Employment Practices

Wrongful Act by the insureds.

Ex. 11, 2015 Policy, EPL Coverage Part, Section I(A). As used in the paragraph above, “Loss

means the amount that the Insureds are legally liable to pay solely as a result of a Claim covered

by this Liability Coverage Part, including Defense Costs, compensatory damages, including from

 

| Aside from the Underlying Litigation, there is no evidence of any other claims filed against the 2015 Policy.
Accordingly, the limits of insurance have not been eroded by any other claim and the full $2 million aggregate limit
of insurance is available to cover the Underlying Litigation, including the $725,000 settlement and the attorney’s fees
and expert fees in the Underlying Litigation. The total claim in the Underlying Litigation that should have been
covered by Twin City exceeds $1.5 million.
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pay and back pay, settlement amounts, pre- and post-judgment interest, and costs awarded
pursuant to judgments.” /d. at Section II(I) (emphasis added; original emphasis removed).
The Policy further defines an “Employment Practices Claim” as any:

(1) written demand for monetary damages or other civil relief commenced by the
receipt of such demand, including, without limitation, a written demand for
employment reinstatement;

(2) a civil proceeding, including an arbitration or other alternative dispute
resolution proceeding, commenced by the service of a complaint, filing of a
demand for arbitration, or similar pleading; or

(3) formal administrative or regulatory proceeding, including, without limitation, a
proceeding before the Equal Employment Opportunity Commission or similar
governmental agency, commenced by the filing of a notice of charges, formal
investigative order or similar document;

by or on behalf of an Employee, an applicant for employment with an Insured
Entity, or an Independent Contractor.

Id. The Policy defines an “Employment Practices Wrongful Act” as a Wrongful Act’ involving
any:

(1) wrongful dismissal, discharge, or termination of employment (including
constructive dismissal, discharge, or termination), wrongful failure or refusal to
employ or promote, wrongful discipline or demotion, failure to grant tenure,
negligent employment evaluation, or wrongful deprivation of career
opportunity;

(2) sexual or other workplace harassment, including quid pro quo and hostile work
environment;

(3) employment discrimination, including discrimination based upon age, gender,
race, color, national origin, religion, creed, marital status, sexual orientation or
preference, gender identity or expression, genetic makeup, or refusal to submit
to genetic testing, pregnancy, disability, HIV or other health status, Vietnam
Era Veteran or other military status, or other protected status established under
federal, state, or local law;

(4) Retaliation;

 

2 “Wrongful Act” is defined as “any actual or alleged: (1) error, misstatement, misleading statement, act, omission,
neglect or breach of duty; or (2) matter claimed against an Insured Person solely by reason of their serving in such
capacity.” Jd. at Section (OQ).
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(5) breach of any oral, written, or implied employment contract, including, without
limitation, any obligation arising from a personnel manual, employee
handbook, or policy statement; or

(6) violation of the Family and Medical Leave Act.

Employment Practices Wrongful Act shall also mean the following, but only

when alleged in addition to or as part of any Employment Practices Wrongful
Act described above:

(i) employment-related wrongful infliction of emotional distress;

(ii) failure to create, provide for or enforce adequate or consistent
employment-related policies and procedures;

(iii} negligent retention, supervision, hiring or training, or

(iv) employment-related: invasion of privacy, defamation, or
misrepresentation.

id. at Section HD).

Coverage under the EPL coverage part is primary to coverage under any other part,
including the D&O coverage part. Jd. at Section VIH. Moreover, it is undisputed that there are no
endorsements which would preclude coverage under the EPL coverage part. The Percentage
Shareholder Exclusion, discussed in Section II.C.3 infra, has no applicability to the EPL coverage
under the 2015 Policy.

2. The D&O Coverage Part

The D&O Coverage Part provides coverage for any (1) Insured Person Claim, (2) Entity
Claim, or (3) Derivative Demand. Ex. 11, 2015 Policy, D&O Coverage Part, Section I. The 2015
Policy defines each of these claims as follows:

“Insured Person Claim” means any:

(1) written demand for monetary damages or other civil relief commenced by the
receipt of such demand;
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(2) civil proceeding, including an arbitration or other alternative dispute
proceeding, commenced by the service of a complaint, filing of a demand for
arbitration, or similar pleading; or

(3) criminal proceeding commenced by the return of an indictment, or formal
administrative or regulatory proceeding commenced by the filing of a notice of
charges, or similar document;

against an Insured Person.

“Insured Person Claim” also means a formal civil, criminal, administrative, or

regulatory investigation commenced by the service upon or other receipt by an
Insured Person of a written notice form an investigating authority specifically
identifying such Insured Person as a target individual against whom formal
charges may be commenced.

“Insured Person Claim” also means a written request to an Insured Person to toll

or waive a statute of limitations regarding a potential Insured Person Claim as
described above, Such Claim shall be commenced by the receipt of such request.

id. at D&O Coverage Part, Section II(F).
“Entity Claim” means any:

(1) written demand for monetary damages or other civil relief commenced by the
receipt of such demand;

(2) civil proceeding, including an arbitration or other alternative dispute
proceeding, commenced by the service of a complaint, filing of a demand for
arbitration, or similar pleading; or

(3) criminal proceeding commenced by the return of an indictment, or formal
administrative or regulatory proceeding commenced by the filing of a notice of
charges, or similar document;

against an Insured Entity.

“Entity Claim” also means a written request to an Insured Entity to toll or waive
a statute of limitations regarding a potential Entity Claim as described above. Such
Claim shall be commenced by the receipt of such request.

Id, at D&O Coverage Part, Section II(D).

 

3 An “Insured Person” means any (1) Manager or (2) Employee. Ex. 11, 2015 Policy, D&O Coverage Part, Section
II(E).
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“Derivative Demand” means any written demand by any security holders of an
Insured Entity, in their capacity as such, upon the board of directors or managers
of such Insured Entity to bring a civil proceeding against a Manager for a
Wroneful Act of such manager if such demand is made without the assistance or
participation or solicitation of any Manager. A Derivative Demand shall be
deemed commenced by the receipt of such demand.

Id. at D&O Coverage Part, Section II(C).
3. The Percentage Shareholder Exclusion Is Inapplicable
Endorsement Number 2 of the 2015 Policy provides that any D&O claim brought or
maintained by an owner of 10% or more of the stock is excluded. Ex. 11, 2015 Policy,
Endorsement No. 2, Percentage Shareholder Exclusion. This endorsement applies solely to the
D&O Coverage Part and does not preclude coverage under the EPL Coverage Part. See id.
4. Buczkowski’s Ownership Interest Was Diluted
Even assuming, arguendo, that the Percentage Shareholder Exclusion was applicable under
the D&O Coverage Part, it no longer applied to Mr. Buczkowski at the time the 2015 Demand
Letter was sent because his ownership interest had already been diluted. Between March 1, 2014
and March 31, 2015 OS Corp. had three (3) capital calls. Each shareholder was asked to contribute
his pro rata percentage ownership in capital. There is no dispute that, as was his night, Mr.
Buczkowski chose not to contribute his pro rata share of capital. Below is a chart of the various

contributions made by the shareholders:

 

 

 

March 2014 December 2014 January 2015
Due Actual Due Actual Due Actual
Haslam $540,000 | $540,000 | $270,000 | $270,000 | $270,000 ; $270,000

 

Buczkowski | $130,000 | $130,000 =| $65,000 $13,000 $65,000 $0

 

Garofalo $130,000 | $130,000 | $65,000 $65,000 $65,000 $65,000

 

 

 

 

 

 

 

 

 

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Kraemer $100,000 | $100,000 | $50,000 $50,000 $50,000 $50,000 |

 

Lombardo | $100,000 | $100,000 | $50,000 $50,000 $50,000 $50,000

 

 

 

| _ | : -
TOTAL $1,000,000 | $1,000,000 | $500,000 | $448,000 | $500,000 | $435,000

| | | |

See Affidavit of Glenn Haslam, attached hereto as Exhibit 12, at { 9.

 

 

 

 

 

 

Mr. Buczkowski is the only shareholder who chose not to contribute his equitable
percentage or pro rata contribution. Jd. at | 9 & 10. Based on his original 13% ownership stake,
Mr. Buczkowski was due to contribute $260,000. Instead, he contributed $143,000. fd. Mr.
Buczkowski does not dispute this. See Affidavit of Robert Buczkowski, attached hereto as Exhibit
13, at 9 4; Ex. 2, Buczkowski Dep., 71:12-72:7. Accordingly, Mr. Buczkowski’s ownership
interest was diluted to 7.774%. Ex. 13, Buczkowski Aff, #5.

D. Twin City’s Coverage Analysis

On October 18, 2016, Michael Knox, the claims consultant for Twin City assigned to this
matter, wrote to counsel for Plaintiffs advising that “Twin City will provide a defense of the lawsuit
for the covered entities and persons, as described below, subject to its reservation of rights.” See
Deposition Transcript of Michael Knox with Exhibits, attached hereto as Exhibit 14, at Deposition
Exhibit 5 (“October 18, 2016 Letter”), 1. Mr. Knox went on to state that “[u]nder the EPL part,
the [Underlying Litigation] suit is an Employment Practices Claim with respect to Madison
Mechanical OS Corp., Haslam, Garofolo [sic]. Count 1 seeks a declaratory judgment with respect
to these defendants that plaintiff was wrongfully terminated and must be reinstated. Twin City will
provide a defense for this Claim as well with respect to these defendants.” /d. at 12. Additionally,
Mr. Knox stated that “[b]ecause both the EPL part and the D&O part are, in part, triggered, please
note that the Section VIII (‘Coordination of Coverage’) in the EPL part provides that Loss shal!

be first covered and paid under the EPL part.” Jd.

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On April 19, 2017, Mr. Knox again wrote to counsel for Plaintiffs. In this letter, rather
than reserving its rights, Twin City outright denied the claims. See Ex. 14, Dep. Ex. 4 (“April 19,
2017 Letter”). Twin City based its decision to deny coverage primarily on the prior knowledge
exclusion, late notice and Madison’s failure to report the November 11, 2015 Demand Letter at
the time it was received and reported to Madison’s insurance agent, Mr. Franey of Alliant. Jd.

Nothing about Mr. Buczkowski’s claims in the Underlying Litigation fundamentally
changed between October 18, 2016 and April 19, 2017. Indeed, the Underlying Litigation
remained an employment practices claim. As Mr. Knox reiterated in his April 19, 2017 letter, “in
the absence of the threshold coverage issues raised above, the suit would be an Employment
Practices Claim with respect to Madison Mechanical OS Corp., Haslam and Garofalo.” /d. at 10.
In fact, the only thing that changed between October 18, 2016 and April 19, 2017, was that Twin
City received the November 11, 2015 letter from Buczkowski’s counsel. Ex. 14, Knox Dep., 39:3-
43:18.

HI. STANDARD OF REVIEW

In reviewing a motion for summary judgment, under Fed. R. Civ. P. 56, this Court must
view the facts in a light most favorable to Plaintiffs, as the nonmovants, drawing all justifiable
inferences in their favor. Ricci v. DeStefano, 557 U.S. 557, 586 (2009); Anderson vy. Liberty Lobby,
Inc., 477 US. 242, 255 (1986) (citing Adickes v. S.H. Kress & Co., 398 U.S. 144, 158-59 (1970)).
Summary judgment may only be granted where the movant demonstrates that “the pleadings, the
discovery and disclosure materials on file, and any affidavits show that there is no genuine dispute
as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a).

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A “material fact” is one that might affect the outcome of a party’s case. Anderson, 477 U.S.
at 248: see also JKC Holding Co. v. Wash. Sports Ventures, Inc., 264 F.3d 459, 465 (4th Cir, 2001)
(citing Hooven-Lewis v. Caldera, 249 F.3d 259, 265 (4th Cir. 2001)). A dispute of material facts
“will properly preclude the entry of summary judgment.” Anderson, 477 U.S. at 248; Hooven-
Lewis, 249 F.3d at 265. A “genuine” dispute concerning a “material” fact arises when the evidence
is sufficient to allow a reasonable jury to return a verdict in the nonmoving party’s favor. Anderson,
477 US. at 248.

IV. ARGUMENT

A. Twin City Relies Upon Strongly Disputed Material Facts and, Therefore,
Summary Judgment is Inappropriate

This Court must deny Twin City’s Motion for Summary Judgment because many of the
material “facts” that Twin City relies upon are either flat-out wrong or are strongly disputed by
Plaintiffs, their experts, and the fact witnesses. Anderson, 477 U.S. at 248; Hooven-Lewis, 249
F.3d at 265.

1. Twin City Mischaracterized the Underlying Litigation

Twin City asserts that the Underlying Litigation filed by Buczkowski sought “(i) a
declaratory judgment that Plaintiffs’ attempt to oust him from the company failed, and (ii) various
relief for their efforts to usurp its business.” Def.’s Mot. Summ. J. Mem. 1, ECF No. 87-1. This is
a fundamental mischaracterization of the Underlying Litigation made in an effort to recast
Buczkowski’s claim as anything but an EPL claim, What Twin City omitted from its Motion is the
fact that the very first means of relief Buczkowski requested in his Complaint (the “Underlying
Complaint” or the “Buczkowski Complaint”) were: (1) “That the Court issue a declaratory
judgment that Plaintiff remains an employee and sharcholder of Madison Mechanical OS Corp.;”

and (2) “That the Court issue injunctive relief ordering the Defendants to take any and all

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appropriate action to recognize Plaintiff’s continued employment and ownership of shares in
Madison Mechanical OS[.]” See Underlying Complaint, attached hereto as Exhibit 15, at 30, 33
(emphasis added).

Further, Twin City asserts that to settle the Underlying Action, the defendants (now
Plaintiffs in this action) “paid $725,000 to compensate Buczkowski for the value of the shares that
they took for him.” Def.’s Mot. Summ. J. Mem. 1, ECF No. 87-1. Even the most cursory review
of the Settlement Agreement entered into in the Underlying Action reveals the falsity of Twin
City’s statement. See Settlement Agreement, attached hereto as Exhibit 16. The $725,000 was
paid to Buczkowski “in consideration for the dismissal of the [Underlying] Action.” Jd. at 14. The
“Action,” as defined by the Settlement Agreement was the suit filed by Buczkowski “against
Madison Mechanical OS Corp., Madison Mechanical Contracting LLC, Glenn A. Haslam, Gary
J. Garofalo, Richard Amold, Lawrence P. Kraemer, and Richard M. Lombardo in the Circuit Court
for Baltimore County, Case No. 03-C-16-005782, requesting a declaratory judgment for
wrongful termination of Buczkowski's employment and his stock in Madison Mechanical OS
Corp., and alleging, both directly and derivatively, claims of breach of contract, oppression of
minority shareholder, breach of fiduciary duty, tortious interference with economic relations,
unjust enrichment, unfair competition, misappropriation of trade secrets, and constructive trust[.]”
Id. at 1 (emphasis added).

2. Buczkowski’s Ownership Percentage in OS Corp. is Disputed

Despite Twin City’s assertion that “[t]he undisputed evidence proves that Buczkowski
remained a 13% shareholder at all times relevant to this litigation,” (Def.’s Mot. Summ. J. Mem.
2, ECF No. 87-1) Buczkowski’s ownership percentage in OS Corp. could not be more fervently

contested. To argue that Buczkowski remained a 13% shareholder, Twin City relies on (1) an April

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6, 2015 renewal application which identified Buczkowski as a 13% shareholder, (2) Buczkowski’s
claims in the Underlying Litigation and (3) select statements from Buczkowski’s deposition in this
matter. /d. at 2-4.

The renewal application was completed by Buczkowski himself. See Ex. 2, Buczkowski
Dep., 11:17-12:15. Buczkowski, who disputed the dilution of his ownership shares when it suited
him to do so, had every incentive to misrepresent his percentage of ownership on the 2015 renewal
application and in the Underlying Complaint. Moreover, the evidence presented by Twin City is
contradicted by Buczkowski himself who signed an Affidavit admitting that his ownership was
diluted to 7.774% as of April 1, 2015 and testified to the dilution of his ownership in deposition.
See Ex. 13, Buczkowski Aff, Jf] 5-6;4 Ex. 2, Buczkowski Dep., 72:8-11.

Twin City’s description of the evidence surrounding Buczkowski’s ownership percentage
as “undisputed” is a blatant mischaracterization. Moreover, the mischaracterization pertains to a
material fact at the heart of Twin City’s argument that the 10% endorsement bars coverage under
the D&O part of the 2015 Policy. On this ground alone, summary judgment on this issue is
inappropriate. See Fed. R. Civ. P. 56(a); Anderson, 477 U.S. at 248; Hooven-Lewis, 249 F.3d at
265,

3. Twin City Misstated Key Components of the Timeline of Events

First, Section ILC of Twin City’s Motion for Summary Judgment is premised on an
incorrect timeline that falsely casts Plaintiffs in a negative light. Twin City asserts that after
receiving Buczkowski’s demand, Plaintiffs sought to obtain additional insurance from Twin City
that would shield MMCLLC. See Def.’s Mot. Summ. J. Mem. 5-7, ECF No. 87-1. This is untrue.

When MMCLLC was formed, on August 20, 2015, Plaintiffs informed Bill Franey, their insurance

 

4 Buczkowski was represented and advised by counsel prior to signing the Affidavit. Ex. 2, Buczkowski Dep.,
72:21-73:9,

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agent, about the creation of the new entity and that insurance for the new entity would need to be
in effect by the time the company began operating on January 1, 2016. See Deposition Transcript
of William Franey*, attached hereto as Exhibit 17, at 19:11-20, 59:19-60:18; see also Ex. 12,
Haslam Aff., {| 10-11. Plaintiffs requested insurance for MMCLLC months before receiving
Buczkowski’s November 11, 2015 Demand Letter. The fact that Franey/Alliant ultimately
submitted the Application to procure insurance for MMCLLC to Twin City on December 29, 2015
is a red herring, wholly irrelevant to Plaintiffs’ receipt of Buczkowski’s November 2015 Demand
Letter.

Second, Twin City argues that the November 11, 2015 Demand Letter did not trigger
coverage under the EPL Coverage Part, because Buczkowski was not terminated until] November
18, 2015, What Twin City omits is that Buczkowski knew months prior to November 2015 that
his employment at MMI would end once MMCLLC began operating. See Ex. 12, Haslam Aff., 4
9; Ex. 2 Buczkowski Dep. at Dep. Ex. 2, Sept. 25, 2019 E-mail from R. Buczkowski. When
Buczkowski’s counsel sent the November 11, 2015 Demand Letter, Buczkowski was well aware
of what his future as an employee of MMI would be. See Ex. 2, Buczkowski Dep., 69:7--71:7.
Further, Twin City’s October 18, 2016 coverage letter clearly states that a defense was being
provided under the EPL Coverage Part, subject to a reservation of rights. Ex. 14, Knox Dep. at
Dep. Ex. 5, Oct. 18, 2016 Letter from M. Knox, 1.

Third, Twin City asserts that OS Corp. passed the Consent of Sole Director and Resolutions
“(slhortly after Twin City raised the Percentage Shareholder Exclusion as a coverage defense.”

Def.’s Mot. Summ. J. Mem. 22, ECF No. 87-1. This statement is untrue and can only assume to

 

> This deposition was taken in a related action currently pending in the Circuit Court for Prince George’s County,
captioned Madison Mechanical OS Corp., et al. v. Twin City Fire Insurance Co., et al., case number CAL-18-27076,
Twin City is not a party to that action.

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have been made to wrongly cast Plaintiffs in a bad light before this Court. The Consent of Sole
Director and Resolutions was passed on September 15, 2016. See Consent of Sole Director and
Resolutions, attached hereto as Exhibit 18. Twin City first issued a coverage letter raising the
Percentage Shareholder Exclusion as a coverage defense on October 18, 2016 ~ weeks after the
Consent of Sole Director and Resolutions was passed.° See Ex. 14, Knox Dep., Dep. Ex. 5, October
18, 2016 Letter.
4. The Parties’ Experts are in Conflict About a Material Fact

The parties’ experts staunchly disagree on whether Twin City was timely notified of the
Underlying Claim. Upon receiving the November 11, 2015 Demand Letter, Mr. Garofalo promptly
reported the claim to Madison’s insurance agent, Mr. Franey. See Ex. 5, Garofalo Aff. ¥J 11-15.
The Madison Entities have a long history of submitting claims to Twin City through Mr. Franey.
See Ex. 2, Buczkowski Dep. 17:14-19:18; Ex. 17, Franey Dep. 27:13-30:9. Plaintiffs’ expert, Mr.
Marshall, states that given custom and practice in the industry and this decades-long course of
dealing in particular, when Mr. Garofalo reported the Demand Letter to Mr. Franey, Alliant and
Mr. Franey had the authority and duty to accept the Demand Letter, thus triggering Twin City’s

obligations under the 2015 Policy. Ex. 8, Marshall Report, { 32, 34, 67. Nevertheless, Twin City’s

 

6 In its Motion, Twin City suggests that it first raised the Percentage Shareholder Exclusion as a coverage defense in
an August 11, 2016 e-mail to counsel for Plaintiffs. See August 11, 2016 E-mail from M. Knox to G. Jones, attached
hereto as Exhibit 19. Quite simply, that is not the case. In his August 11, 2016 E-mail, Michael Knox, the claims
representative for Twin City, was confirming receipt of a July 28, 2016 letter from counsel for Plaintiffs notifying
Twin City of the filing of Buczkowski’s Complaint. See July 28, 2016 Letter from G. Jones, attached hereto as Exhibit
20. As part of that confirmation, Mr. Knox reiterated the information initially set forth in counsel’s July 28, 2016 letter
to Twin City (i.e., that the D&O Coverage Part contained a Percentage Shareholder Exclusion and that Buczkowski
alleged in the Underlying Litigation that he was a 13% shareholder). Compare Ex. 20, July 28, 2016 Letter from G.
Jones with Ex. 19, Aug. 11, 2016 E-mail from M. Knox. As stated in counsel’s letter, the Percentage Shareholder
Exclusion did not apply because Buczkowski’s ownership shares were diluted below 10%. Ex. 19, July 28, 2016 Letter
from G. Jones. Mr. Knox’s August 11, 2016 e-mail in no way took a coverage position on the Percentage Shareholder
Exclusion. See Ex. 19, Aug. 11, 2016 Email from M. Knox (“We will issue our coverage determination as soon as
practicable.”).

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expert maintains that the way the Madison Entities first provided notice of the November 11, 2015
Demand Letter was improper. See Ex. 10, Goanos Report, {{] 54-57.

The timeliness of the notice the Madison Entities provided to Twin City is material as it is
central to the parties’ claims and defenses on the Prior Knowledge and Loss History Exclusions,
discussed in Section IV.D infra. The parties’ experts are in direct conflict on this issue, Where the
parties have proffered conflicting expert opinions on a material issue in the litigation, summary
judgment is inappropriate. See, e.g., In re Gabapentin Patent Litigation, 503 F.3d 1254, 1259-61
(Fed. Cir. 2007) (overturning federal district court’s grant of summary judgment where experts
proffered conflicting opinions).

B. The Underlying Ligation is a Covered Employment Practices Liability Claim

In an effort to avoid its obligation to provide a defense and indemnity for the Underlying
Litigation, Twin City is attempting to recharacterize the nature of the claim and back away from
its initial position that the claim is covered under the EPL Coverage Part of the 2015 Policy.

1. EPL Coverage Trigger

Twin City advanced two primary arguments in its Motion for Summary Judgment: (1) the
November 11, 2015 Demand Letter was written before Buczkowski was terminated and, therefore,
because it does not allege wrongful termination on its face, cannot trigger the EPL Coverage Part
and (2) Buczkowski’s Complaint did not allege a claim “for” wrongful termination. Each argument
is addressed below.

i. The November 11, 2015 Demand Letter Satisfies the Definition of
an EPL Claim

The fact that Buczkowski had not been formally terminated as of November 11, 2015 is
immaterial. Buczkowski knew, prior to November 11, 2015, that his employment at Madison was

coming to an end. See Ex. 2, Buczkowski Dep., 69:7-71:7, Dep. Ex. 2 (Sept. 25, 2015 E-mail)

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(the “decision has officially been made and I am not going to be part of the new company that is
being set up”). Buczkowski stated in the September 25, 2015 email to his attorney that he was
seeking guidance on “{nlegotiating some type of settlement in regards to my exit in the near
future[.|” Jd. Several weeks later Buczkowski’s attorney sent the November 11, 2015 Demand
Letter. It is apparent that the November 11, 2015 Demand Letter arose directly from Buczkowski’s
pending termination. Indeed, Buczkowski’s termination animates the entire claim; it is the trigger
that led to all subsequent events.

The plain language of the policy provides that the EPL Coverage Part is triggered by a
“written demand for monetary damages or other civil relief... by or on behalf of an Employee”
for “wrongful dismissal, discharge, or termination of employment... or wrongful deprivation of
career opportunity.” Ex. 11, 2015 Policy, EPL Coverage Part, Section II(M). The November 11,
2015 Demand Letter satisfies the 2015 Policy’s definition of an EPL claim. While the November
11, 2015 Demand Letter does not explicitly reference “wrongful termination” it did not need to do
so because Buczkowski’s role as an employee and as a shareholder were inextricably linked. The
winding up of MMI and alleged diversion of business away from MMI/OS Corp. to MMCLLC
necessarily meant the end of Buczkowski’s employment and, in his opinion, the compromising of
his financial position as a shareholder. With the November 11, 2015 Demand Letter, Buczkowski
demanded that Madison cease and desist its alleged diversion of business away from MMI/OS
Corp., which necessarily impacted him as a shareholder and as an employee.

ii. Buczkowski’s Complaint Alleged Wrongful Termination

The November 11, 2015 Demand Letter alone was sufficient to trigger coverage under the

EPL Coverage Part. Nevertheless, the EPL Coverage Part still applies to the allegations raised in

Buczkowski’s Complaint. In his Complaint, Mr. Buczkowski sought a declaratory judgment in

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which he asked the court to reinstate him as an employee. When the Underlying Action was settled,
the settlement was paid, in part, to resolve claims for “wrongful termination of Buczkowski’s
employment.” Ex. 16, Settlement Agreement, 1.

Twin City attacks the application of the EPL Coverage Part to the Buczkowski Complaint
on two grounds, both of which misapply the law. First, Twin City argues that the term “for,” as
used in the EPL Coverage Part’ is narrower than the phrase “arising out of” and that because the
Buczkowski Complaint did not state a claim “for” wrongful termination, there is no coverage under
the EPL Coverage Part. Second, Twin City argues that Buczkowski was employed at-will and,
therefore, his termination could be with or without cause.

a. Construction of the Term “For” as Used in the 2013 Policy

The cases Twin City relies on to establish a distinction between claims “for” and claims
“arising out of’ an Employment Practices Wrongful Act do not apply Maryland law, and therefore,
should be given no weight when considering the construction of a Maryland insurance policy. See
W.C. and A.N. Miller Development Co. v. Continental Cas. Co., 814 F.3d 171, 176 (4th Cir. 2016)
(citations omitted) (“Maryland applies the doctrine of /ex loci contractus. .. ‘The locus contractu
of an insurance policy is the state in which the policy is delivered and the premiums are paid. . .
Here, the policy was delivered to [the insured] in Maryland. Maryland’s law of contracts governs
the interpretation of the policy.”).

Moreover, the 2015 Policy itself does not draw a distinction between claims “for” and
claims “arising out of’ an Employment Practices Wrongful Act. “Clear and unambiguous language

. . must be enforced as written and may not yield to what the parties later say they meant.”

Catalina Enters., Inc. Pension Tr. v. Hartford Fire Ins. Co., 67 F.3d 63, 65 (4th Cir. 1995) (citing

 

7 The 2015 Policy provides that Twin City “shall pay Loss - . . resulting from an Employment Practices Claim . . .
for an Employment Practices Wrongful Act by the insureds.” Ex. 11, 2015 Policy, EPL Coverage Part, Section I(A).

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Board of Trs. Of State Collis v. Sherman, 280 Md. 373, 373 A.2d 626, 629 (1977). “[T]he words
in a policy should be accorded their ‘usual, ordinary, and accepted meaning[,]’” which “is tested
by what meaning a reasonably prudent layperson would attach to the term.” Bausch & Lomb, Ine.
v, Utica Mut. Ins. Co., 330 Md. 758, 625 A.2d 1021, 1031 (1993) (citations omitted).

A “reasonably prudent layperson” would attach broad meaning to the term “for.” See
Definition of For, MERRIAM-WEBSTER DICTIONARY, available at https://www.merriam-
webster.com/dictionary/for (defining “for” as a preposition “used as a function word to indicate
purpose,” “used as a function word to indicate an intended goal,” “used as a function word to

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indicate the object or recipient of a perception, desire, or activity,” “as being or constituting,” “used
as a function word to indicate an actual or implied enumeration or selection,” “because of[.])”
Even if the use of the term “for” in the 2015 Policy were in some way ambiguous, where an
insurance contract is ambiguous, “any doubt as to whether there is a potentiality of coverage under
[the] insurance policy is to be resolved in favor of the insured.” Clendenin Bros. v. U.S. Fire Ins.
Co., 390 Md. 449, 889 A.2d 387, 394 (2006) (citation and internal quotations omitted).
b. Buczkowski’s At-Will Employment

Twin City then cites to several cases to suggest that Buczkowski did not have a viable
wrongful termination claim under Maryland law by virtue of the fact that he was an at-will
employee. See Def.’s Mot. Summ. J. Memo. 25-27, ECF No. 87-1. This analysis is nonsensical.
While the nature of Buezkowski’s employment (i.e., whether it was at will or not) may bear on the
validity of Buczkowski’s claims in the Underlying Litigation, it has no bearing on the EPL trigger.
There is no exclusion in the EPL Coverage Part for at-will employees. See generally Ex. 11, 2015

Policy, EPL Coverage Part. None of the cases cited to by Twin City suggest that EPL coverage is

unavailable where an employee’s wrongful termination claim is legally unfounded. To the

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contrary, the 2015 Policy provides that Twin City has a duty to defend even if a “Claim is
groundless, false or fraudulent.” Ex. 11, 2015 Policy, Common Terms and Conditions, Section
VII(A).

2. The Defenses Raised in Twin City’s Motion with Respect to the D&O
Coverage Part are Inapplicable to the EPL Coverage Part

There are no exclusions or endorsements that prevent the application of coverage under the
EPL Coverage Part. With respect to coverage under the D&O Coverage Part, Twin City argues
that the Percentage Shareholder Exclusion and the Insured vs. Insured Exclusion bar coverage for
the Underlying Action. See Def.’s Mot. Summ, J. Mem, 20-24, ECF No. 87-1. The Percentage
Shareholder Exclusion is an endorsement that relates solely to the D&O Coverage Part. See Ex.
11, 2015 Policy, Endorsement No. 2, Percentage Shareholder Exclusion. The Insured vs. Insured
Exclusion is set forth within the D&O Coverage Part itself and relates solely to claims under the
D&O Coverage Part. See Ex. 11, D&O Coverage Part, Section IV(H). Therefore, should this Court
determine that the Underlying Claim triggered the 2015 Policy’s EPL Coverage Part, there are no
applicable exclusions or endorsements that bar coverage for the Claim.

C. Plaintiffs Are Entitled to Damages for Twin City’s Failure to Defend and
Indemnify with Respect to the Underlying Litigation

l. The 2015 Policy
The 2015 Policy obligated Twin City to provide a defense for Plaintiffs in the Underlying
Litigation. The 2015 Policy’s Duty to Defend provision is included in the Common Terms and
Conditions form, Section VII (Defense and Settlement):
Settlement: (A} The insurer shall have the right and duty to defend any Claim for
which the Insureds give notice to the Insurer, even if such Claim is groundless, false

or fraudulent.

Ex, 11, 2015 Policy, Common Terms and Conditions, Section VII(A).

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The duty to defend extends to the overall costs of defending a Claim, even if portions of
the Claim are outside the scope of the Policy’s coverage. This broad duty to defend is clarified in
Section XI (Allocation):

Where Insureds who are afforded coverage for a Claim incur an amount consisting

of both Loss that is covered by this Policy and also loss that is not covered by this

Policy because such Claim includes both covered and uncovered matters or covered
and uncovered parties, then coverage shall apply as follows:

(A) 100% of Defense Costs shall be allocated to covered Loss; and

(B) Loss other than Defense Costs shall be allocated between covered Loss

and non-covered loss based upon the relative legal exposure of all parties to

such matters.
Id. at Section XI(A) — (B). According to the plain language of the 2015 Policy, even if there was
an unresolved question as to whether a portion of the Underlying Claim was covered, Twin City
was still obligated to pay 100% of the defense costs because, as Mr. Knox recognized, the
Underlying Claim involved a covered EPL claim. See Ex. 14, Knox Dep., Dep. Ex. 5, p. 12.

Further, the EPL Coverage Part of the 2015 Policy covers Loss, which is defined to include
“amounts the Insureds are legally liable to pay,” i.c., judgments and settlements. Ex. 11, 2015
Policy, EPL Coverage Part, Section II{I). The Confidential Settlement Agreement and Release
entered into between Buczkowski and Plaintiffs in the Underlying Claim called for a total payment
of $725,000. Ex. 16, Settlement Agreement. The Settlement Agreement does not specifically
allocate the payment between various components of the Underlying Claim but does specifically
state that the settlement arises from Buczkowski’s suit for wrongful termination of employment.
Id, at 1.
2. An Insurer’s Duty to Defend Under Maryland Law

Under Maryland law, “[a]n insurance company has a duty to defend its insured for all

claims that are potentially covered under the policy.” Walk v. Hartford Cas. Ins. Co., 382 Md. 1,

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15, 852 A.2d 98, 106 (2004). Even if a complaint “does not allege facts which clearly bring the
claim within or without the policy coverage, the insurer still must defend if there is a potentiality
that the claim could be covered by the policy.” Brohawn v, Transamerica Ins. Co., 276 Md. 396,
408, 347 A.2d 842, 850 (1975). The Brohawn holding is commonly referred to as the “Potentiality
Rule.”

The evidentiary threshold that triggers a duty to defend, and thus establishes a potentiality
of coverage, is extremely low. For example, “[iJ]f there is a possibility, even a remote one, that the
plaintiff's claims could be covered by the policy, there is a duty to defend.” Litz v. State Farm Fire
and Cas. Co., 346 Md. 217, 231, 695 A.2d 566, 572 (1997); accord Utica Mut. Ins. Co. v. Miller,
130 Md.App. 373, 385, 749 A.2d 935, 941 (2000).

Maryland Courts apply the Potentiality Rule so expansively that “[i]f there is any doubt as
to whether there is a duty to defend, it is resolved in favor of the insured.” Walk, 382 Md. at 16;
accord Aetna Cas. & Sur. Co. v. Cochran, 337 Md. 98, 107, 651 A.2d 859, 863 — 64 (1995)
(articulating the same standard); see also Andrew Janquitto, Jnsurer's Duty to Defend in Maryland,
18 U. BALT. L. REV. 1, 2 (1998) (describing the expansive scope of the Potentiality Rule as follows,
“In recent years, Maryland courts have expanded the insurer’s defense obligation to a point where
the insurer has a near-absolute duty to defend whenever its insured is sued.”) (emphasis added).

3. Maryland Law Entitles the Insured to Fees and Expenses Incurred in
Pursuing Coverage

In addition to the $725,000 settlement paid to Mr. Buczkowski in the Underlying Litigation
and the fees and expenses incurred in defending the Underlying Litigation, Plaintiffs are entitled
to recovery of their attorneys’ fees and costs incurred in litigating this action. Maryland joins the
majority of states in permitting a policyholder to recover its attorneys’ fees from its insurer in a

declaratory judgment action. As stated by the Court of Appeals:

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The rule in this state is firmly established that when an insured must resort to

litigation to enforce its liability insurer’s contractual duty to provide coverage for

its potential liability to injured third persons, the insured is entitled to a recovery of

the attorneys’ fees and expenses incurred in that litigation.

Nolt v. U.S. Fid. & Guar, Co., 329 Md. 52, 66, 617 A.2d 578, 584 (1993).

Indeed, this rule was well-established prior to the No/t decision, having been set forth in
several reported decisions. See Bankers and Shippers Insurance Co. of New York v, Electro
Enterprises, 287 Md. 641, 415 A.2d 278, 282 (1980) (“[A]n insurer is liable for the damages,
including attorneys’ fees incurred by an insured as a result of the insurer’s breach of its contractual
obligation to defend the insured against a claim potentially within the policy’s coverage, and this
is so whether the attorneys’ fees are incurred in defending against the underlying damage claim or
in a declaratory judgment action to determine coverage and a duty to defend.”); Continental
Casualty v. Board of Educ., 302 Md. 516, 537, 489 A.2d 536, 547 (1985) (“[T]his Court has
sustained the award of counsel fees incurred by an insured in litigation with an insurer where the
issue was whether the insurer was obligated to defend the insured against a claim asserted by a

third party and where the insurer unsuccessfully maintained that it was not so obligated.”).

D. Twin City’s Position on the Prior Knowledge and Loss History Exclusions is
Untenable Under Maryland Law and Based on a Disputed Material Fact

Twin City implies that MMCLLC’s failure to answer "yes" to the Prior Knowledge/Loss
History questions in its December 29, 2015 Application triggered the Application's Exclusion, and
that this Exclusion relieves Twin City of the obligation to provide OS Corp, MMI, Glenn Haslam,
and Gary Garofalo a defense under the already existing 2015 Policy. Twin City’s argument is
misplaced and fails to cite any case law or Policy language to support its retrospective position.

Moreover, Twin City’s argument is premised on disputed material fact.

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OS Corp., MMI, Glenn Haslam (as an Officer covered by the corporate entities), and Gary
Garofalo (as a Manager covered by the corporate entities) were insureds as that term is defined
under the 2015 Policy. The 2015 Policy, as written, defines their rights and Twin City's obligations.
The Prior Knowledge and Loss History questions, as well as the accompanying Exclusions,
employed by Twin City to avoid it duty to defend do not appear in the 2015 Policy. Instead they
are contained in the Application to add MMCLLC to the existing 2015 Policy. Twin City, however,
has neither offered any evidence in the form of Policy language nor cited any case law to support
its argument that the Exclusion solely contained in the December 29, 2105 Application, which
applied only to MMCLLC and was an application for a stand-alone policy, altered the contractual
rights of OS Corp, MMI, Glenn Haslam, and Gary Garofalo as defined in the already existing 2015
Policy.

Twin City’s argument would effectively strip coverage for any insured entity for any claim
arising during the 2015 Policy period (May 1, 2015 — May 1, 2016) simply because the claim
existed at the time the December 29, 2015 Renewal Application was submitted to add MMCLLC
to the Policy. The Madison Entities paid, and Twin City collected, insurance premiums during this
entire time period. Twin City’s argument is an untenable interpretation of Maryland law.

To be clear, the 2015 Policy is a claims-made policy. The rights and obligations of the
parties are cemented on the date a claim is first made under a claims-made policy. See Philadelphia
Indem. Ins. Ca. v. Maryland Yacht Club, Inc., 129 Md. App. 455, 459, n.2 (1999) (citing Eric Mills
Holmes, Holmes's Appleman on Insurance, 2d § 16.4, at 315 (1998)); Bernstein v. Genesis Ins.
Co., 90 F. Supp. 2d 932, 937 (N.D. Hl. 2000), supplemented, No. 98 C 5446, 2001 WL 812200
(N.D. Ill. July 17, 2001), and aff'd and remanded, 28 F. App'x 560 (7th Cir. 2002), and aff'd and

remanded, 28 F. App'x 560 (7th Cir. 2002) (citations omitted) (“[TJhe policy is a ‘claims made’

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policy. Thus, coverage is determined based on when the claim was filedf.]”); see also Def.’s Mot.
Summ. J. Mem. 21, ECF No. 87-1 (arguing that the application of the 2015 Policy’s coverage
exclusions should be evaluated based on the facts existing “at the time the Claim was made”). In
this case, the claim was made on November 11, 2015 and reported on November 20, 2015. The
application for insurance for MMCLLC on December 29, 2015 and the 2016 renewal application
were subsequent to the date the claim was first made and are, therefore, irrelevant.

Finally, Twin City bases its arguments about the application of the Prior Knowledge and
Loss History Exclusions on the factual premise that “Plaintiffs did not disclose to Twin City that
their revised corporate structure already had given rise to a dispute with Buczkowski just a few
weeks earlier.” See Def.’s Mot. Summ. J. Mem. 17, ECF No. 87-1. This assumes, as proffered by
Twin City’s expert, Mr. Goanos, that by providing notice of the November 11, 2015 Demand
Letter to their agent, Mr. Franey, on November 20, 2015, Plaintiffs had not provided notice of
Buczkowski’s claim to Twin City. This is staunchly disputed by Plaintiffs’ expert. See Ex. 8,
Marshall Report. If, as Plaintiffs maintain, the notice they provided to Mr. Franey, on November
20, 2015 was imputed to Twin City, Plaintiffs’ responses to Question 3 and Question 9 on the
December 29, 2015 Application are irrelevant because Twin City already had notice of the
November 11, 2015 Demand Letter. Given that there is a dispute of material fact between the
parties’ expert witnesses at the heart of this issue, summary judgment is inappropriate. Gabapentin,
503 F.3d at 1259-61.

E. Directors, Officers and Entity Liability Coverage Part

Summary judgment on the D&O Coverage Part is inappropriate. Twin City primarily relies

on a disputed material fact - Buczkowski’s percentage of ownership at the time the Underlying

Claim was made — to argue that the Underlying Claim was excluded under the Percentage

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Shareholder Exclusion. In a footnote, Twin City argues that even if Buczkowski’s ownership was
diluted (precluding operation of the Percentage Shareholder Exclusion) his Claim was excluded
under the Insured vs. Insured Exclusion. This argument is premised on a rudimentary misreading
of the Insured vs. Insured Exclusion which, on its face, does not apply to Buezkowsk1’s claim.
1. Twin City Relies on a Disputed Material Fact

Twin City misleads this Court when it states that “Buczkowski indisputably was a 13%
shareholder at the time the Claim was made.” Def.’s Mot. Summ. J. 21, ECF No. 87-1. At best,
Twin City is relying on a disputed material fact to argue that the Percentage Shareholder Exclusion
bars coverage for the Underlying Litigation under the D&O Coverage Part. See Section IV.A.2,
supra. Accordingly, summary judgment on the issue of coverage under the D&O Coverage Part is
inappropriate. Anderson, 477 U.S. at 248; Hooven-Lewis, 249 F.3d at 265.

2. The Percentage Shareholder Exclusion Does Not Bar Coverage

The Percentage Shareholder Exclusion does not bar coverage because Buczkowski’s
ownership had been diluted below 10% as of April 1, 2015 — prior to the November 11, 2015
Demand Letter being sent and prior to the filing of the Underlying Complaint in June of 2016. As
discussed, supra, when MMI began experiencing financial problems, Glenn Haslam, the sole
director of OS Corp, issued a call for capital contributions in the form of equity. It is undisputed
that Mr. Buczkowski did not make capital contributions in December of 2014 and January of 2015
proportionate to his stock ownership percentage. Ex. 12, Haslam Aff., 9; Ex. 13, Buczkowski
Aff., ¥ 4. It is also undisputed that the other shareholders (Haslam, Garofalo, Kraemer, and
Lombardo) infused equity into the corporation in a manner proportionate to their ownership

percentages. Ex. 12, Haslam Aff., fff 9-10; Ex. 13, Buczkowski Aff., 4.

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Under Maryland law, OS Corp had several options regarding how it would treat Mr.
Buczkowski's failure to contribute his proportionate share of required capital. On September 16,
2016, the board of directors of OS Corp formally documented that Mr. Buczkowski's non-
proportional capital contribution resulted in his shares in OS Corp decreasing from 13% to
approximately 7%. See Ex. 18, Consent of Sole Director and Resolutions. The Resolution is
unambiguous and provides that Mr. Buczkowski was diluted as of April 1, 2015. Ja.

Twin City's argument that Mr. Buczkowski remained a 13% shareholder at all relevant
times is inconsistent with Maryland Corporate law and with Mr. Buczkowski’s own testimony.
Twin City presumes that a shareholder is only diluted, i.¢., the percentage of ownership decreased,
when a corporation like OS Corp formally drafts a Consent Resolution memorializing the decrease.
The Maryland Corporate Code, however, provides that the "Board of Directors has plenary power
to issue stock and determine the terms under which it may issue that stock." Mp. CODE ANN.,
Corps. & ASs’N § 2-203 (2002). Additionally, "In the absence of actual fraud in the transaction,
the minimum consideration . . . determined by the board of directors in the resolution is conclusive
for all purposes.” MD. CODE ANN., Corps. & ASS’N § 2-203(b) (emphasis added).

The OS Corp Board reasonably concluded that Mr. Buczkowski's non-proportional capital
contributions should result in the corporation issuing stock in a non-proportional manner among
the stockholders, thereby resulting in Mr. Buczkowski's ownership interest decreasing to
approximately 7%. Pursuant to section 2-203 and the Consent Resolution, April 1, 2015 is the
date of dilution, that is, the date that Mr. Buczkowski's ownership interest fell below 10%, and that
date is “conclusive for all purposes." Therefore, because the Resolution establishes that Mr.

Buczkowski's ownership interest fell below 10% on April 1, 2015, and that this date is "conclusive

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for all purposes," as section 2-203 requires, this legally binding fact must also apply to this case
and the applicability, or lack thereof, of Twin City's 13% Exclusion.

OS Corp's codifying the date of dilution as of April 1, 2015 is consistent with section 2-
203, although OS Corp could have chosen an earlier date.® Pursuant to section 2-206, “When the
corporation receives the consideration for which stock or convertible securities are to be issued,
the stock or convertible securities are fully paid and nonassessable.” Mp. CODE ANN., CORPS. &
ASS'N § 2-206 (c). This section confirms that when Mr. Haslam, Mr. Garofalo, Mr. Kraemer, and
Mr. Lombardo paid their proportional shares of the capital contribution, Mr. Buczkowski's
percentage of shares in OS Corp decreased due to his failure to make his proportional contribution,
at the time of the failure to contribute.

3. The Insured vs. Insured Exclusion Does Not Bar Coverage

Twin City briefly argues that the Underlying Litigation is not covered because of the
“<Insured v. Insured Exclusion,’ Exclusion IV (H).” Def.’s Mot. Summ. J. Mem. 24, n. 6, ECF No.
87-1. This Exclusion, however, does not apply to Derivative Actions because the 2015 Policy
expressly exempts “a Derivative Action or a Derivative Demand.” See Ex. 11, 2015 Policy, D&O
Coverage Part, Section IV(H). In the Buczkowski Complaint, Counts 4, 6, 8, 10, 12, and 14 are
captioned, in part, “Derivative Action on Behalf of Madison Mechanical OS Corp.” See Ex. 15,

Buczkowski Compl., ff 37, 44, 51, 58, 66, & 73. Therefore, Exclusion IV (H) is inapplicable.

 

§ Glenn Haslam was deposed as the corporate representative of the Madison entities. Counsel for Plaintiffs indicated
to counsel for Twin City that Mr. Garofalo could testify to certain limited topics of inquiry listed in Twin City’s
Corporate Representative Deposition Notice. The dilution of Buczkowski’s shares was not one of those areas. Twin
City’s comment that Plaintiffs’ corporate representative “could not explain numerous internal documents reflecting
that Buczkowski maintained his 13% ownership” is yet another example of Twin City’s incorrect representation of
the facts in its Motion for Summary Judgment.

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Vv. CONCLUSION

Accordingly, due to the myriad of disputed material facts and for all the foregoing

reasons, the Court must deny Twin City’s motion for summary judgment and allow the matter to

proceed toward trial.

Dated: October 10, 2019

Respectfully submitted,

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